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                 UNITED STATES DISTRICT COURT
           MIDDLE DISTRICT OF FLORIDA, TAMPA DIVISION

VALERIE FLYNN,                            )
                                          )
                     Plaintiff,           )
                                          )    CASE NO: 8:22-CV-343-MSS-SPF
     vs.                                  )
                                          )
CABLE NEWS NETWORK, INC.                  )
                                          )
                     Defendant.           )
                                          )
                                          )
                                          )


LORI FLYNN,                               )
                                          )
                     Plaintiff,           )
                                          )   CASE NO: 8:22-CV-00512-MSS-AEP
     vs.                                  )
                                          )
CABLE NEWS NETWORK, INC.                  )
                                          )
                     Defendant.           )
                                          )
                                          )
                                          )

          DEFENDANT CABLE NEWS NETWORK, INC.’S
    UNOPPOSED MOTION TO AMEND CASE MANAGEMENT ORDER

      Pursuant to Federal Rule of Civil Procedure 16(b)(4) and the Court’s Case

Management and Scheduling Order (D.E. 40; the “CMO”), Defendant Cable News

Network, Inc. (“CNN”) hereby moves to amend the deadline for Dispositive and

Daubert Motions. In support thereof, CNN states as follows:

      1.    The CMO was previously amended, in relevant part, regarding the
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deadline for Dispositive Motions, Daubert Motions, and Markman Motions through

and until July 15, 2023 (D.E. 70).

         2.     CNN seeks a nine-day extension of the deadline in which to file

Dispositive Motions, Daubert Motions, and Markman Motions1 through and until July

24, 2023.

         3.     Amending discovery deadlines within a scheduling order is proper for

good cause shown. Fed. R. Civ. P. 16(b)(4). Here, the parties are currently litigating

some outstanding discovery disputes in the companion case in the Southern District

of New York. Plaintiffs in that matter produced documents as recently as July 6, 2023,

about which Defendant is in the process of conferring with Plaintiffs’ counsel. This

dispute, and potential one other, will likely be heard by the Court in the Southern

District of New York in the coming days. Additionally, despite their diligence, the

parties do not yet have the deposition transcript of Plaintiffs’ expert, which is necessary

for Defendant to prepare a Daubert Motion. The transcript is expected from the court

reporter next week. Amending the above date will provide sufficient time to resolve

the discovery disputes and prepare the dispositive and Daubert motions.

         4.     Moreover, modifying the above deadline would not prejudice any party,

as all other deadlines in the CMO would remain in effect, including the mediation and

other pretrial deadlines and trial.

         WHEREFORE, CNN requests that the Court grant this motion by modifying



1
    As a practical matter, Markman motions are not applicable to this case.
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the deadline set forth above.

                       LOCAL RULE 3.01(g) CERTIFICATION

      Counsel for CNN further certifies that counsel conferred with counsel for

Plaintiffs by electronic mail on July 7, 2023, who advised that Plaintiffs do not oppose

the relief requested herein.

Dated: July 7, 2023.

                                       Respectfully submitted,

                                       SHULLMAN FUGATE PLLC

                                       By: /s/ Deanna K. Shullman
                                       Deanna K. Shullman
                                       Florida Bar No. 514462
                                       Sarah M. Papadelias, Esq.
                                       Florida Bar No. 0125098
                                       2101 Vista Parkway, Ste. 4006
                                       West Palm Beach, Florida 33411
                                       Telephone: (561) 429-3619
                                       dshullman@shullmanfugate.com
                                       spapadelias@shullmanfugate.com

                                       DAVIS WRIGHT TREMAINE LLP
                                       Katherine M. Bolger*
                                       Meenakshi Krishnan*
                                       Sam F. Cate-Gumpert*
                                       Lindsey B. Cherner*
                                       1251 Avenue of the Americas
                                       New York, New York 1002
                                       Telephone: (212) 489-8230
                                       katebolger@dwt.com
                                       meenakshikrishnan@dwt.com
                                       samcategumpert@dwt.com
                                       lindseycherner@dwt.com

                                       *Admitted Pro Hac Vice

                                       Counsel for CNN
